          USCA Case #22-7031
                               UNITED STATES COURT OF Filed:
                                   Document #1956938
                                                       APPEALS
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                                DISTRICT OF COLUMBIA CIRCUIT
                                              333 Constitution Avenue, NW
                                               Washington, DC 20001-2866
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 Case Caption: Representative Eric Swalwell

                                     v.                                     Case No: 22-7030
                    Donald J. Trump, et al.


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained       Pro Bono      Appointed (CJA/FPD)         Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)          Intervenor(s)    Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 Representative Eric Swalwell




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Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

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